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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 13-cr-00392-CMA-03

 UNITED STATES OF AMERICA,

           Plaintiff,

 v.

      1.       GEORGE THOMAS BROKAW,
      2.       JOHN J. PAWELSKI,
      3.       MIMI M. VIGIL, and
      4.       CLARA M. MUELLER,

           Defendants.



             ORDER REGARDING DISCLOSURE OF GRAND JURY MATERIALS
                      TO PRO SE DEFENDANT MIMI M. VIGIL


           Upon consideration of the Government’s Motion to Disclose Grand Jury Material to

 Pro Se Defendant Mimi M. Vigil Pursuant to Fed. R. Crim. P. 6(e)(3)(E)(i), it is

           ORDERED that a copy of the transcripts of testimony given before the grand jury

 and related exhibits be disclosed to Pro Se Defendant Mimi M. Vigil for preparation for

 trial.

           IT IS FURTHER ORDERED that:

           1. Defendant Vigil shall make only such copies as are necessary to prepare a

 defense of this criminal case;

           2. Defendant shall keep a written record concerning how many copies were

 made, to whom those copies were delivered, and the date of delivery, and Defendant Vigil

 shall deliver a copy of this Order allowing disclosure with the materials; and

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    3. At the conclusion of the case in this Court, by entry of the Court's judgment,

 Defendant Vigil shall collect all such copies and return them to the government within ten

 days.


 Dated this _______ day of ________________, 2014, at Denver, Colorado.



                                   BY THE COURT:



                                   _______________________________________
                                   Christine M. Arguello
                                   United States District Judge




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